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UNITED STATES DISTRICT COURT                               ELE"CTR01"ICAI.LY FILED
SOUTHERN DISTRICT OF NEW YORK                             .DOC#:
                                                           DATE F-JL_E_D_:- /-0---:/,j. . t_f.,...
                                                                                          . _2......0___
JANE DO E 1002 ,

                                 Plaintiff ,

                   - against -                         20 - cv - 06906(LLS)

DARREN K. INDYKE and RICHARD D. KAHN                           ORDER
in their capacities as the executors
of THE ESTATE OF JEFFREY E. EPSTEIN ,

                                 Defendants.

     The parties have stipulated that plaintiff may proceed

anonymously, and solicit the Court ' s approval . Court approval ,

even in cases such as this , is not automatic . See , for instance ,

Jane Doe v . Harvey Weinstein , 20 Civ . 6240 , 2020 WL 5261343

(S . D. N.Y . Sept . 3 , 2020)   (denying motion to proceed under a

pseudonym although the claims of sexual assault were highly

sensitive and of a personal nature) . That factor is not

dispositive .

      Approaching the issue objectively , counsel are directed to

brief the question whether this case is a proper one for

allowing plaintiff to proceed anonymously, in light of the

factors set forth in Sealed Plaintiff v . Sealed Defendant , 537

F.3d 185 (2d Cir . 2008).

      So ordered.

Dated :       New York , New York
              October 16 , 2020


                                               LOUIS L . STANTON
                                                   U. S . D. J.
